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                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF VIRGINIA
                                       LYNCHBURG DIVISION

  Lunpeng Ma,

                        Plaintiff,                   Case No: 6:21CV00028

            v.

  Virginia Military Institute, and the Board of      JURY TRIAL DEMANDED
  Visitors of Virginia Military Institute

                        Defendants.


                             STIPULATION OF DISMISSAL WITH PREJUDICE

 To the Clerk of Court:

          Please mark the above-captioned action dismissed with prejudice, with each party to bear

 its own costs.


                                        Respectfully submitted,

                                        OBERMAYER, REBMANN, MAXWELL & HIPPEL LLP


 Dated: March 14, 2023                  /s/ Andrew J. Horowitz, Esq.
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